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LINDA CLAXTON, State Bar No. 125729

linda.claxton@oglietreedeakins.com
CRS TOPLee W. DECKER, State Bar No. 229426
christopher deck er @osletreedeakins.com

DEAKI ;
SMOAK & STEWART, P.C.
633 West Fifth Street, 53rd Floor
Los Angeles, California 90071
Telephone: 513 239-9800
Facsimile: (213) 239-9045

Attorneys for Defendants

ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
CORPORATION (incorrectly named and sued as “RBC WEALTH
MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
INC.”), and THE ROYAL BANK OF CANADA US WEALTH
ACCUMULATION PLAN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

STEVEN BENHAYON, Case No. CV08-06090 FMC(AGRx)
Plaintiff, DEFENDANTS’ NOTICE OF
MOTION AND MOTION FOR
Vv. PARTIAL SUMMARY
JUDGMENT ON PLAINTIFF’S
ROYAL BANK OF CANADA, a CLAIM FOR BENEFITS UNDER
Canadian company, business form THE ROYAL BANK OF CANADA

unknown; RB ALTH US WEALTH ACCUMULATION
MANAGEMENT COMPANY, formerly | PLAN
RBC DAIN RAUSCHER, INC.,

business form unknown; THE ROYAL Date: None Set

BANK OF CANADA US WEALTH Time: None Set
ACCUMULATION PLAN, former! DJ: Florence-Marie Cooper
known as RBC Dain Rauscher Wealth Courtroom: (Roybal) 750
Accumulation Plan; and, DOES 1 MS: Alicia G. Rosenberg

through 20, Courtroom: (Spring) 23
Defendants. Trial Date: February 16, 2010

 

 

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CASE NO. CV08-06090 FMC(AGRx)
NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT ON PL.’S CLAIM FOR
BENEFITS UNDER THE ROYAL BANK OF CANADA US WEALTH ACCUMULATION PLAN

 
Case|2:08-cv-06090-FMC-AGR Document 29 Filed 07/22/09 Page 2of3 Page ID#:151

TO PLAINTIFF STEVEN BENHAYON AND HIS ATTORNEY OF
RECORD:

NOTICE IS HEREBY GIVEN that, upon completion of the briefing schedule
established by the Court for the ERISA issues in this action, Defendants the Royal
Bank of Canada, RBC Capital Markets Corporation (incorrectly named and sued as
“RBC Wealth Management Company, formerly RBC Dain Rauscher, Inc.”) and the
Royal Bank of Canada U.S. Wealth Accumulation Plan, will and hereby do move the

Court for partial summary judgment on Plaintiff's First Cause of Action for

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Violation of the Employee Retirement Income Security Act of 1974 on the ground

 

10 | that there is no genuine issue as to any material fact and that Defendants are entitled
11 || to judgment as a matter of law as to Plaintiff's claim for benefits under the Royal

12 | Bank of Canada U.S. Wealth Accumulation Plan because there was no abuse of

]3 | discretion in making the determination to reject Plaintiff's claim for benefits.

14 This motion is based upon this Notice of Motion and Motion, the

15 | accompanying Memorandum of Points and Authorities, Separate Statement of

16 | Uncontroverted Facts and Conclusions of Law, the Declarations of Gabriela Sikich
17 || and Christopher W. Decker, all pleadings and papers on file in this action, and upon
18 || such other matters as may be presented to the Court at the time of any hearing on this
19 |} Motion.

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25 |) H/

26) ///

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1 CASE NO. CV08-06090 FMC(AGRx)
NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT ON PL.’S CLAIM FOR
BENEFITS UNDER THE ROYAL BANK OF CANADA US WEALTH ACCUMULATION PLAN

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Casq 2:08-cv-06090-FMC-AGR Document 29 Filed 07/22/09 Page 3o0f3 Page ID #:152
1 Pursuant to the Court’s order of June 17, 2009, this Motion shall be deemed
2 || submitted upon the filing of the parties’ simultaneous reply briefs on August 5, 2009.
3
4 DATED: July 22, 2009 OGLETREE, DEAKINS, NASH, SMOAK
& STEWART, P.C.
5
6
7 By:____/s/
8 Christopher W. Decker
Attorneys for Defendants
9 ROYAL BANK OF CANADA, RBC
CAPITAL MARKETS CORPORATION
10 incorrectly named and sued as “RBC
ALTH MANAGEMENT COMPANY,
11 formerly RBC DAIN RAUSCHER,
INC.”), and THE ROYAL BANK OF
12 CANADA US WEALTH
ACCUMULATION PLAN
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2 CASE NO. CV08-06090 FMC(AGRx)
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~ BENEFITS UNDER THE ROYAL BANK OF CANADA US WEALTH ACCUMULATION PLAN

 

 
